JENNIE L. MILLER, EXECUTRIX, ESTATE OF JOHN L. MILLER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Miller v. CommissionerDocket No. 4397.United States Board of Tax Appeals11 B.T.A. 854; 1928 BTA LEXIS 3702; April 27, 1928, Promulgated *3702  For computation of petitioner's tax on account of the sale of property belonging to the estate, the gain or loss is the difference between the sale price and the value at the date of the death of the owner, increased or diminished by proper allowances for capital expenditures, exhaustion, wear and tear and depletion which have accrued during the interim between the date of death and the date of sale.  Wm. T. Beeks, Esq., and T. E. Claypool, Esq., for the petitioner.  Granville S. Borden, Esq., for the respondent.  LANSDON *854  This appeal is for the redetermination of a deficiency in income tax for the year 1920, in the amount of $12,665.29.  The only issue is the correct determination of the profit realized from the sale in the taxable year of certain Alaskan gold-mining claims belonging to petitioner.  FINDINGS OF FACT.  John L. Miller, owner of certain placer mining claims in the Territory of Alaska, died testate May 5, 1917, leaving his wife Jennie L. Miller as his sole legatee and the executrix of his will.  In the autumn of 1917 the mining claims and all the property, both personal and real, located thereon for use in connection*3703  with the mining operations were appraised as of the date of John L. Miller's death for $59,450.  The estate-tax returns filed by the executrix on behalf of the petitioner were based on the amount fixed by this appraisal.  This amount was accepted by the respondent as the true value of the property at said date and settlement of the estate tax was computed in accordance therewith.  In 1920 the executrix sold the mining claims and all the property, both real and personal, located thereon at that time, for $100,000 in cash or its equivalent.  In the income-tax return of the estate for the year 1920 petitioner claimed a credit for all capital expenditures of every kind made by decedent and petitioner from the time of decedent's staking of his first claim in 1900 up to the date of the sale, amounting to $165,122.94, and deducted therefrom for depreciation and depletion $34,350.74, showing a net loss of $30,772.20.  Respondent based his computation on the estate-tax return and a report of a revenue agent, computed depreciation and depletion for the interim between the date of the death of Miller and the date of the sale and determined them to be $9,000 and $17,000, respectively, *3704 *855  and thus found a taxable gain of $66,550.00 and a deficiency on this account of $12,665.29 in tax.  Petitioner claims credit for assessment work performed in 1918 and 1919, recording fees for the three years 1918 to 1920, miscellaneous expenses and attorneys' fees in connection with the sale, amounting in all to $21,243.65.  None of these claims appear to have been allowed by the respondent.  The proven claims are: attorneys' fees in the conduct of the sale, $3,442.91, recorders' fees, $185.80, revenue stamps $75, care, etc., of papers in escrow $25.  OPINION.  LANSDON: The issue as to whether the cost price or the value of the claims at the date of the death of petitioner's decedent should be made the basis for the computation of the gain or loss must be decided adversely to the petitioner upon the principles laid down in our decision in , and that of the United States District Court for the Southern District of New York in . Cf. *3705 . We are of the opinion that in the computation of profit upon the sale the petitioner is entitled to credit for its expenditures consisting of recording fees $185.80, revenue stamps $75, care, etc. of papers in escrow $25, and attorneys' fees in connection with the sale $3,442.91, amounting in the aggregate to $3,728.77.  Judgment will be entered on 15 days' notice, under Rule 50.